                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH

                                                                                        er err~ cc Aflll Iliff   .. -~,._
                                              *
 APOTHECARY MOVEMENT, LLC, a Utah             *       WRIT OF GARNISHMffii
 limited liability company                    *
 Plaintiff,                                   *       (For garnishment of non-personal services,
                                              *       income, or property)
          vs.                                 *
BH ELEGANT LINENS dba AA WHOLESALE *                  Civil No.   2:23-cv-00845
DEALS, and Swift Innovations       *
 Defendant,                                   *
  Bank of America NA
  800 Samoset Drive
                                              *
  Mail Code: DES-024-02-08
  Newark, DE 19713
                                              *
 Garnishee,                                   *
                                              *
                                  Bank of America NA, Legal Order Processing
                                  800 Samoset Drive
                                  Mail Code:DE-024-02-08,
 THE UNITED STATES OF AMERICA TO: -
                                  Newark, DE 19713
                                    --'------------'
                                           Garnishee.
          You are hereby ordered and commanded by the Court to hold, until further order of this
 Court, and not pay to defendant all money and other personal property of the Defendant(s) in
 your possession or under your control, whether now due or hereafter to become due, which
 are not exempt from execution, up to the amount remaining due on the judgment or order plus
 court approved costs in this matter (or in the case of a prejudgment writ, the amount claimed
 to be due), being$ 726,394.00

          You are required to answer the attached questions or interrogatories and to file your
 answer with the Clerk of this Court, within five business days of the date this Writ is served
 upon you, at the following address:


                                       Clerk, U.S. District Court
                                       351 S. West Temple St.
                                       Room 1.100
                                       Salt Lake City, Utah 84101

        You are also required to send a copy of your answers to the plaintiff at the following
 address:
                Name:          Jordan Cameron, Attorney for Plaintiff
                               Cameron Ringwood LC
                Address:
                               6975 Union Park Ave., Suite 600
                               Cottonwood Heights, Utah 84047
                               jordan@cameronringwood.com

         If you fail to answer, the judgment creditor may ask the Court to order you to pay the
amount you should have withheld.
         If you are indebted to, or if you hold property or money belonging to the Defendant,
you shall mail immediately by first class mail a copy of the Writ of Garnishment and your
answer to the Interrogatories, the Notice of Garnishment and Exemptions, and two copies of
the Request for Hearing to the Defendant and to anyone else who, according to your records,
may have an ownership or other interest in the property or money at the last known address of
the Defendant or such other persons shown on your records at the time of the service of this
Writ. In lieu of mailings, you may hand-deliver a copy of these documents to the Defendant and
other persons entitled to copies.
         YOU MAY DELIVER to the officer serving this Writ the portion of Defendant's earnings or
income to be held as shown by your answers. You then will be relieved from further liability in
this case unless your answers are successfully disputed. You may, in the alternative, hold the
money. If you do not receive a copy of a request for hearing withing 20 days of service of your
answer to the Interrogatories on the defendant or any other person claiming an interest in the
property, you shall pay the money to the plaintiff or plaintiff's attorney. If you receive a copy of
a request for hearing within the 20 days, you must hold the money until further order of the
court.
                             29th
                DATED this _ _              March
                               _ _ day of _ _          24_ .
                                              _ ___, 20_


                                            GARY P. SERDAR
                                            CLERK OF COURT

                                  By: _ _ _ _ _ _ _ __
                                          Deputy Clerk

FOR PREJUDGMENT WRITS ONLY:

Date and Time of Expiration of Writ:               Date: _ _ _ _ _ __

                                                   Time: _ _ _ _ _ __
